
THE COURT.
[1] The information in the superior court upon which the judgment against petitioner is based , clearly attempted to charge the felony defined by section 476a of the Penal Code. Whether the specific facts alleged as constituting the particular offense failed to sufficiently ■ Show the public offense attempted to be charged is a question which cannot be considered on habeas corpus under the well-settled rule of this jurisdiction. (Matter of Buef, 150 Cal. 665, [89 Pae. 605]; see, also, Em parte Greenall, 153 Cal. 770, [96 Pac. 804].)
As to the second point, in view of the facts and exhibits shown by the petition, it must be held that the superior court did vacate the order suspending the execution of the judgment.
The application for a writ of habeas corpus was denied for these reasons.
Shaw, J., Wilbur, J., Lennon, J., Olney, J., Lawlor, J., Melvin, J., and Angellotti, C. J., concurred.
